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 4                                         IN THE UNITED STATES DISTRICT COURT FOR THE

 5                                               EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                                )
                                                              )
 8                                   Plaintiff,               )       No. 1:07-CR-00057 OWW
                                                              )
 9                   vs.                                      )       ORDER OF RELEASE
                                                              )
10   THOMAS SANCHEZ,                                          )
                                                              )
11                                             Defendant.     )
                                                              )
12
                     The above named defendant having been sentenced to Time
13
     Served on October 6, 2008,
14
                     IT IS HEREBY ORDERED that the defendant shall be released
15
     forthwith. A certified Judgment and Commitment order to follow.
16

17
     DATED:__October 6, 2008______________
18

19                                                            /s/ OLIVER W. WANGER
                                                              HONORABLE OLIVER W. WANGER
20                                                            U.S. DISTRICT JUDGE

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